        Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 1 of 9




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 In the Matter of the
 Federal Bureau of Prisons’ Execution
 Protocol Cases
                                                            Case No. 19-mc-0145 (TSC)
 LEAD CASE: Roane, et al. v. Barr
 THIS DOCUMENT RELATES TO:
 Roane, et al. v. Barr, No. 05-2337



         DEFENDANTS’ MOTION TO STAY INJUNCTION PENDING APPEAL
       Pursuant to Federal Rule of Civil Procedure 62(c)(1) and consistent with Federal Rule of

Appellate Procedure 8(a)(1), Defendants respectfully move for a stay pending appeal of this

Court’s Order, issued on November 19, 2020, ECF No. 322, enjoining Defendants from

proceeding with the execution of Orlando Hall scheduled for November 19, 2020 “until further

order of this court.” ECF No. 323. In support of this motion, Defendants respectfully refer the

Court to the July 9, 2020 declaration of Rick Winter, which describes the harm to the Federal

Bureau of Prisons (“BOP”) and the stakeholders if a scheduled execution were to be postponed.

See ECF No. 139-1. Defendants plan to seek relief in the Court of Appeals shortly after this filing.

       Defendants recognize that this Court has determined that Hall meets the standard for

issuance of an injunction, but Federal Rule of Appellate Procedure 8(a)(1) counsels Defendants to
first move in this Court for a stay of the injunction pending appeal before seeking a stay in the

Court of Appeals. Accordingly, for the following reasons, as well as those reasons stated in

Defendants’ motion for summary judgment as to Counts VIII, X, and XI, see ECF No. 170 at 38-

43, and in opposition to Nelson’s cross-motion for summary judgment on the same counts, see

ECF No. 187, in opposition to Plaintiffs’ Rule 59(e) Motion for Reconsideration, see ECF No.

291, in opposition to Plaintiffs’ Motion to Stay pending appeal, see ECF No. 311, and in opposition

to Hall’s Motion to Stay, see ECF No. 319, Defendants respectfully request that the Court stay the

injunction pending appeal. 28 C.F.R. § 0.20(b); 28 U.S.C. § 2107(b).
         Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 2 of 9




                                   STANDARD OF REVIEW

        Federal Rule of Civil Procedure 62(c) provides in relevant part: “When an appeal is taken

from an interlocutory or final judgment granting . . . an injunction, the court in its discretion may

suspend . . . an injunction” during the pendency of the appeal. District courts considering a motion

for such a stay consider the same factors as those governing a motion for a preliminary injunction:

“(1) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

(2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

will substantially injure the other parties interested in the proceeding; and (4) where the public

interest lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987). Before seeking a stay from the

Court of Appeals, a party must ordinarily move first in the District Court for an order suspending

an injunction pending appeal. Fed. R. App. P. 8(a).

                               ARGUMENT
   I.      DEFENDANTS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
           APPEAL OF THIS COURT’S INJUNCTION
        Defendants are likely to succeed on the merits of their appeal of this Court’s injunction.

This Court issued an injunction in favor of Hall after tentatively concluding that he has “a

substantial possibility of success on the merits” in light of the D.C. Circuit’s decision yesterday,

which purportedly “fundamentally changed the law upon which this court relied in making its

factual finding.” Mem. Op. at 7 (referencing In the Matter of the Fed. Bureau of Prisons’

Execution Protocol Case, No. 20-539 at 22 (D.C. Cir. Nov. 18, 2020) (D.C. Cir. Op.”)). This was

in error given that Dunn v. McNabb, 138 S. Ct. 369 (2017), clearly prohibits courts from entering

injunctions to reconsider their factual findings.

        Further, Defendants respectfully disagree with this Court’s tentative conclusion for the

reasons set forth in Defendants’ numerous filings on Plaintiffs’ FDCA claims and in light of the

testimony the Court received during the evidentiary hearing the Court held on September 18 and

19, 2020. See ECF Nos. 170 at 38-43, and 187.




                                                    2
         Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 3 of 9




        Specifically, the Court’s rationale for granting this preliminary injunction again runs afoul

of the Supreme Court’s order vacating this Court’s prior preliminary injunction on the same

grounds. The Court’s current analysis is little different than the rationale upon which it based its

prior preliminary injunction on the same FDCA claim in July. Cf. ECF No. 145. Yet, the Supreme

Court vacated the Court’s decision without a single dissent. Nevertheless, the Court, in entering a

permanent injunction in favor of Hall, has once again refused to “interpret the Supreme Court’s

vacatur as an indication of how this court should resolve the dispute on the merits.” ECF No. 213

at 8. But given that the Court’s decision is based on the same grounds that it identified in granting

the preliminary injunction, it is likely, if not inevitable, that the Supreme Court will vacate the

Court’s preliminary injunction on the same record. As such, Defendants are likely to succeed on

the merits of their appeal of this Court’s injunction.

        Defendants also respectfully submit that the Court was wrong to conclude that there has

been a substantial change in the law that permits a departure from the mandate rule. All the D.C.

Circuit said in relation to the plaintiffs’ Eighth Amendment claim was that it could survive a Rule

12(b)(6) motion. But the Court of Appeals made clear that “whether the complaint contains the

necessary factual allegations to state a legal claim for relief . . . is a far distant inquiry from . . . a

request that a court take the extraordinary step of affirmatively proscribing a party’s behavior

before adjudicating its rights.” D.C. Cir. Op. at 18-19. In fact, the Court of Appeals explicitly

affirmed this Court’s prior ruling that plaintiffs are not likely to suffer irreparable harm in relation

to their FDCA claim. The D.C. Circuit stated in no uncertain terms that Plaintiffs had not identified

before the district court or this court any other type of irreparable harm that would likely be

suffered due to the unprescribed use of pentobarbital. D.C. Cir. Op. at 25. Thus, if anything, the

D.C. Circuit’s opinion compels the Court to reject Hall’s request for a stay, and the Court erred by

favoring Judge Pillard’s dissent over the majority’s holdings.

        Moreover, as this Court previously noted in denying Plaintiffs an injunction on their FDCA

claim, there is nothing in the record that suggests that the lack of a prescription could itself cause

injury sufficient to justify an injunction. ECF No. 261 at 36. The Court notes that the D.C. Circuit

                                                    3
          Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 4 of 9




neither adopted nor rejected this reasoning, ECF No. 322 n.2, and it remains an independent reason

why Hall is not likely to succeed on the merits, and the Court may not grant a stay in light of that

impediment to his FDCA claim. See Dunn v. McNabb, 138 S. Ct. 369 (2017).

   II.      THE BALANCE OF HARMS WEIGHS IN FAVOR OF ENTRY OF A STAY
            OF THE INJUNCTION
         This Court entered its injunction after concluding that the government “has not shown that

it would be significantly burdened by staying federal executions until it can secure a valid

prescription.” ECF No. 322 at 9. Defendants respectfully disagree. The basis of the injunction is

that Hall cannot be executed under the federal protocol unless BOP obtains a prescription for the
lethal agent. But the Court has not held that executing plaintiffs without a prescription would

violate the Eighth Amendment or any substantive right. Thus, Plaintiffs’ asserted harm amounts

exclusively to the violation of the FDCA, which does not create any real-world harm in this

context, and accordingly cannot support an injunction—particularly at this late date. Cf. Winter v.

NRDC, 555 U.S. 7, 32-33 (2008) (vacating injunction in part because, while respondents alleged

harm to marine life, their “ultimate legal claim” required only preparation of an environmental

impact statement, not cessation of the allegedly harmful conduct); Execution Protocol Cases, 955

F.3d at 126-129 (Katsas, J., concurring) (concluding that the first injunction in this case should

have been vacated on equitable considerations even apart from the merits).
         The Supreme Court has repeatedly, including in this very case, warned against the issuance

of eleventh hour injunctions such as this. See Lee v. Barr, 20A8 at 3, 591 U.S. __ (2020). It has

recognized the Government and the victims’ compelling interest in the timely enforcement of a

death sentence. See Calderon v. Thompson, 523 U.S. 538, 556 (1998); Gomez v. U.S. Dist. Court

for N. Dist. of Cal., 503 U.S. 653, 654 (1992); see also Bucklew v. Precythe, 139 S. Ct. 1112, 1134

(2019) (“The people of Missouri, the surviving victims of [the condemned inmate’s] crimes, and

others like them deserve better. Even the principal dissent acknowledges that the long delays that

now typically occur between the time an offender is sentenced to death and his execution are

excessive.”) (citation omitted from parenthetical). Indeed, in this very case, Judge Katsas has

                                                 4
         Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 5 of 9




found that this Court “failed to recognize the important governmental and public interest in the

timely implementation of capital punishment.” In re Execution Protocol Cases, 955 F.3d at 126

(Katsas, J., concurring). This is particularly the case here, where the Court has revisited its prior

findings and issued a stay of execution only two-and-a-half hours before that execution is

scheduled to go forward. If the limitation on last-minute reprieves to extreme exceptions means

anything at all, it means that the court shouldn’t grant a stay hours before the execution by

reconsidering factual findings that the court of appeals affirmed the day before.

       Further, as Mr. Winter explained in his declaration, each execution requires significant

advanced planning and coordination, including the “activation of the execution team, which

consists of approximately 40 BOP staff members,” see ECF No. 139-1 ¶ 5; the mobilization of

approximately 100 BOP staff at the Federal Correctional Complex at Terre Haute (“FCC Terre

Haute”) to serve as institution security and support during the execution, id. ¶ 8; the

synchronization of the schedules of BOP contractors who must set aside their own personal and

work-related matters for each execution, id. ¶ 6; the coordination of security measures with federal,

state, and local law enforcement agencies, id. ¶ 7; the arrangement of travel and lodging for any

victims’ family members who have committed to witnessing the execution, id. ¶ 11; as well as the

participation of approximately 50 additional BOP personnel from specialized teams, such as

Special Operations Response Teams and Disturbance Control Teams, who will need to travel to

FCC Terre Haute from other BOP institutions, id. ¶ 10. These preparations cannot easily be

undone; “[a]ny adjustment to the execution dates would require significant planning and

coordination such as that which already has been undertaken by BOP to date.” Id. ¶ 12. This is

particularly the case now that all of those efforts have already been mobilized and employed to

execute Hall imminently.     Accordingly, beyond the Government’s strong interest in proceeding

with the criminal judgment, operational considerations surrounding the planned executions lend

further support in favor of a stay.




                                                 5
        Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 6 of 9




                                        CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court stay its

injunction pending Defendants’ appeal of this Court’s November 19, 2020 Order enjoining

Defendants from proceeding with the execution of Hall.


 Respectfully submitted,

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                                                6
        Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 7 of 9




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                                               7
       Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 8 of 9




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                                            8
       Case 1:19-mc-00145-TSC Document 326 Filed 11/19/20 Page 9 of 9




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                                              9
